


  Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Murphy, J.), imposed May 13, 2016, upon his plea of guilty, on the ground that the sentence was excessive.
 

  Ordered that the sentence is affirmed.
 

  The defendant’s purported waiver of his right to appeal was invalid (see People v Kupershmidt, 152 AD3d 797 [2017]; People v Brown, 122 AD3d 133 [2014]) and, therefore, does not preclude review of his excessive sentence claim. However, the sentence was not excessive (see People v Suitte, 90 AD2d 80 [1982]).
 

  Eng, P.J., Chambers, Sgroi, Maltese and Connolly, JJ., concur.
 
